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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 LAS AMERICAS IMMIGRANT ADVOCACY
 CENTER , et al.,

 Plaintiffs–Petitioners,                                       Case No: 1:25-cv-00418

                             v.

 KRISTI NOEM, Secretary of the U.S. Department of
 Homeland Security, in her official capacity, et al.,

 Defendants–Respondents.



                   [PROPOSED] TEMPORARY RESTRAINING ORDER

        Upon consideration of the Plaintiffs-Petitioners’ Motion for a temporary restraining order,

and any opposition, reply, and further pleadings and argument thereto;

        Having determined that Plaintiffs-Petitioners are likely to succeed on the merits of their

claim that they have suffered a violation of their right to habeas corpus, and on their claims under

the First Amendment, the Due Process Clause of the Fifth Amendment, and the Immigration and

Nationality Act, that Plaintiffs-Petitioners will suffer irreparable injury in the absence of injunctive

relief, and that the balance of hardships and public interest favor relief, it is, therefore,

        ORDERED that Plaintiffs-Petitioners’ Motion for Temporary Restraining Order is hereby

GRANTED; and that Defendants-Respondents, their agents, representatives, and all persons or

entities acting in concert with them are hereby:

        1. ORDERED, pending further order of this Court, to provide Plaintiff–Petitioners with

            scheduled, timely, free, confidential, and unmonitored legal telephone and/or

            videoconference calls, with accommodations for interpretation;
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2. ORDERED, pending further order of this court, to provide sufficient private,

   confidential in-person visitation spaces to conduct timely in-person legal visits, with

   access to confidential telephonic language interpretation;

3. ORDERED, pending further order of this court, to provide a method for immigrants

   detained at Guantánamo to place timely, free, confidential, and unmonitored outgoing

   legal calls;

4. ORDERED, pending further order of this court, to provide a method for timely and

   confidential document exchange, including communication via fax, email, or electronic

   signature platforms; courier service; and mail;

5. ORDERED, pending further order of this court, to make publicly available information

   regarding protocols for attorney–client communication at Guantánamo via in-person

   meeting, telephone, videoconference, fax, email, mail, and courier service, via

   Defendant Immigration and Customs Enforcement’s website, and be provided in

   English and Spanish to all immigrants detained by Defendants at Guantánamo;

6. ORDERED, pending further order of this court, to specifically identify the location of

   a detainee held at Guantánamo as “Guantánamo” in Defendant-Respondent

   Immigration and Customs Enforcement’s Online Detainee Locator System within 24

   hours of their transfer to Guantánamo;

7. ORDERED, pending further order of this court, to provide all known counsel for

   immigrants detained in the United States with 72-hour notice of their clients’ planned

   transfer to Guantánamo;
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       8. ORDERED, pending further order of this court, to provide undersigned with 72-hour

           notice of any planned transfer from Guantánamo of a detainee to a country other the

           United States.

It is further ORDERED that Plaintiffs-Petitioners shall not be required to furnish security for costs.




Entered on ___________, 2025 at ______ a.m./p.m.

                                                              _____________________________
                                                              United States District Court Judge
